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  I consent to be substituted.                                             \/
  Dated: March l5 , 202q                                                   N-L-
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   Dated: March 15. 2024
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